Case 5:24-cv-03972-EKL   Document 159-2   Filed 05/08/25   Page 1 of 6




              EXHIBIT 2
Case 5:24-cv-03972-EKL   Document 159-2   Filed 05/08/25   Page 2 of 6
Case 5:24-cv-03972-EKL   Document 159-2   Filed 05/08/25   Page 3 of 6
Case 5:24-cv-03972-EKL   Document 159-2   Filed 05/08/25   Page 4 of 6
Case 5:24-cv-03972-EKL   Document 159-2   Filed 05/08/25   Page 5 of 6
Case 5:24-cv-03972-EKL   Document 159-2   Filed 05/08/25   Page 6 of 6
